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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                     :       Mag. No. 20-mj-5666 (KMW)
                                             :
               v.                            :       UNSEALING ORDER
                                             :
JOHN MICHAEL MUSBACH                         :



               This matter having come before the Court upon the application of the United

States of America, by Craig Carpenito, United States Attorney (Diana Vondra Carrig, Assistant

United States Attorney, appearing) for an order unsealing the Complaint in this matter after the

arrest of the defendant, and for good cause shown,

               IT IS on this 13th day of August, 2020,

               ORDERED that the Complaint in this matter is unsealed.



                                             ______________________________
                                             HONORABLE KAREN M. WILLIAMS
                                             United States Magistrate Judge
